
8 N.Y.2d 1095 (1960)
In the Matter of the Claim of Thomas J. Dougherty, Respondent,
v.
J. F. Quakenbush Waverly Stage Co. et al., Respondents, and Special Disability Fund, Appellant. Workmen's Compensation Board, Respondent.
Court of Appeals of the State of New York.
Argued October 10, 1960.
Decided October 21, 1960.
John M. Cullen for appellant.
Morris N. Lissauer, Charles G. Tierney and George J. Hayes for respondents.
Concur: Chief Judge DESMOND and Judges DYE, FROESSEL, VAN VOORHIS, BURKE and FOSTER. Judge FULD dissents and votes to reverse the order of the Appellate Division and to reinstate the determination of the Workmen's Compensation Board.
Order affirmed, with costs to respondents employer and carrier against the Special Disability Fund; no opinion.
